   Case 1:22-cv-00204-MN Document 5 Filed 04/12/22 Page 1 of 2 PageID #: 16




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

JOHN NANNI,                           )
an individual,                        )
                                      )
       Plaintiff,                     )                 Case No: 1:22-cv-00204-MN
                                      )
v.                                    )
                                      )
WEINER, KRISTOL, AERENSON             )
JOINT VENTURE, LLC,                   )
a Delaware Limited Liability Company, )
                                      )
       Defendant.                     )
____________________________________/

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby

voluntarily dismisses this action with prejudice.

Dated: April 12, 2022
                                      Respectfully Submitted,


                              By: /s/ David T. Crumplar
                                      David T. Crumplar (#5876)
                                      Jacobs & Crumplar, P.A.
                                      Of Counsel
                                      750 Shipyard Drive
                                      Suite 200
                                      Wilmington, DE 19801
                                      Tel.: (302) 656-5445
                                      Fax: (302) 656-5875
                                      E-Mail: davy@jcdelaw.com

                                              -and-
                                      KU & MUSSMAN, P.A.
                                      18501 Pines Blvd, Suite 209-A
                                      Pembroke Pines, FL 33029
                                      Tel: (305) 891-1322
                                      Fax: (954) 686-3976

                                                    1
   Case 1:22-cv-00204-MN Document 5 Filed 04/12/22 Page 2 of 2 PageID #: 17




                              CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on this 12th day of April 2022, I electronically filed the

foregoing with the Clerk of Court by using CM/ECF system, and a true and correct copy will be

mailed to the following:

WEINER, KRISTOL,
AERENSON JOINT VENTURE, LLC
2213 Concord Pike
Wilmington, DE 19803

Buddy Aerenson
2213 Concord Pike
Wilmington, DE 19803
baerenson@aol.com

                                                  By: /s/ David T. Crumplar
                                                          David T. Crumplar (#5876)




                                             2
